     Case 8:22-cv-02178-FWS-DFM Document 16 Filed 03/24/23 Page 1 of 27 Page ID #:138

                                                               CLERK, U.S. DISTRfCT CO!?RT


       Yaxian Fan
       Email: fay731@yahoo.com
                                                                     ~R 24 20?3
 2
       Address: 248 Overbrook,                               CENTRAL D1Sl'RICT OF
                                                                                  CA~lFi~;?>!~  1
                                                             BY t~                    ~,cr . ,.
 3     Irvine, CA 92620
 4
       Phone Number: 310 486-5282
       Plaintiff in Pro Per
 s
 c                       LTNITIED STATE DISTRICT COURT

       CENTRAL DISTRICT OF CALIFORNIA —SOUTHERN DIVISION

 <~                                        CASE NO:8:22 CV-02178-FWS-(DFMX~
~o
      YAXIAN FAN —PLAINTIFF                      PLAINTIFF FILES AMENDED
1~                                               COMPLAINT FOR OPPOSITION
                 vs.                             PARTIES ENGAGE CONSPIRACY IN
12
      CITY OF NEWPORT BEACH                      VIOLAIO~T OF DUE PROCESS OF
13                                               FOURTEENTH AMENDMENT.
14
      DEFENDANT -REPRESENT BY
      KER LEGAL GROUP                            ALSO,FILES AMENDED COVER
is
                AND                              SHEET FOR FEDERAL QUESTION
16                                               JLTRISDICTICUN. 28 U.S.C.§ 1331
   ORANGE COUNTY SUPERIOR
i~
   COURT IN THE CITY OF SANTA                    DEMAND FOR COURT TRIAL,FOR
is ANA -SECOND DEFENDANT                         FAIR JUSTICE,FOR FACTS CHECK,
19                                               FOR CHILDREN'S SAFETY!
                                                JUDGE: Honor, Fred W. Slaughter
Zo                                              DEPT : lOD
21
             TO: UNITED STATES HONORABLE JUDGE SLAUGHTER,
as
23       FOR RESPONSE COURT PROCEEDING ORDERED ON FEBRUARY 24, 2023.
24

25
                                 Jurisdiction and Venue
26        1 . This Court has jurisdiction over the subject matter and Plaintiff Pursuant
2~
             to 28 U.S.C. § 1331, as this case involves Questions of Federal Law.
as                                                                                                  i
       PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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          2. Federal Question Jurisdiction arising when victim Personal Injury Claim,

             both Defendants has been involved damages with deprived Plaintiff's

             d ue process right, court procedure right, human right and Citizen Civi

             Right. The Rights on Laws and legal proceedings, in order to guarantee
 ~~
             fundamental fairness and justice.

             Defendant from City of Newport Beach -Represent by KER Legal Group,

             and Defendant from Orange County Superior Court Courtroom Operation
~o
it           Supervisor, Stacy D. Secours, even they are Legal professional, both
iz
             engaged conspiracy in violation Constitution "Rule-of-Law" core is:
i~
~~           EQUAL RIGHT PROTECTION FOR DUE PROCESS as for everyone is
>>           held accountable same laws, are guaranteed treated equally for all in
~ ~~
             U nited States. Therefore, Plaintiff Pursuant the Rights for due process
~~
1~           clause of Fourteenth Amendment.
19
                               Fourteenth Amendment:
zo
z~    "All persons born or naturalized in the United States, and subject to
    thejurisdiction thereof, are citizens ofthe United States and of the State
22
    wherein they reside. No State shall make or enforce any law which shall
23 abridge the priUileges or immunities ofcitizens ofthe United States; nor

z.~ shall any State deprive any person of life, liberty, or property, without
    due process of law; nor deny to any person within its jurisdiction the
z> equal protection ofthe laws."
26

~~

 ;
 ~
                                                                                         2
       PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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            3. Venue was proper determined this Federal Court of Southern Division of

               Central District Court of California. Both Parties business operating and

    -~         living in the Orange County, for this case was initially assigned correctly.


    ~~               Statement of Facts and Claim —One

          Both Defendants engage conspiracy deprived Plaintiffs Court Trial,

,
~ that serious violation in due process clause of fourteenth Amendment.
io
            4. Amendment Complaint to City of Newport Beach —Attorney KER Legal
~i
~z             Group, Owner is KER. He let Courtroom Operation Supervisor Stacy D.
~>
               Secours, twice to hold on Plaintiff's documents and twice disallowed scan

~~             to Orange County Superior Court Register Online Access, ROA Docket.

~ ~~           These documents for Plaintiff filed for Dispute Summary Judgement

               which against the City filed summary judgement on 9/13/2020.
is
i ~~        5. Directly, Judges cannot access online to read the documents for the case.
zo
               Because only based on the City's files and opinion, that was totally unfair
2~

zz             and untrue, truly was wrongful granted summary Judgement. PERIOD!

2           Both parties engaged conspiracy in violation of Due Process Clause of the
~~
            Fourteenth Amendment provides that no state shall deprive any person of
z
26          life, liberty, or property, without due process of in common law.
27
            Nor deny to any person within its jurisdiction equal protection of the laws.
zs                                                                                         3
         PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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  1          6. Courtroom Operation Supervisor, Stacy D. Secours whom twice hold on

               Plaintiff's Dispute Summary Judgement documents and twice stopped to
 ;
 .
               scan to ROA Docket. For such abusive of discretions to proof he was

               i ntentionally to break public trust. Plaintiff does know him in personally,
 ~>
               of course, he does not know me too. but "Why did he hold on twice of

               Plaintiff's documents?" Sure, only the way from KER let he to do so.
 ~~
               As Supervisor who should due diligence, to analysis the such behaver if

               against constitution of due process when KER asked you. All evidence
i?
               than can help you make correct decisions. As a supervisor that is very
~~
is             i mport rule, make sure court Procedures to goes to correct direction.

i>             Protect and obey the Due Process Clause of Fourteenth Amendment in
~ ~~
               Orange County Superior Court.        But evidence to proof both of you
~~
~s             engaged conspiracy. That is totally unacceptable.
iy
               Please see evidence from two court clerks in support to proof:
20
,1
        7.     On November 18, 2020, Plaintiff filed Dispute Summary Judgement that

22      for against the City filed Summary Judgement on September 21, 2020. During
~_~
        Pandemic, the Court changed filing system from windows to drop off in box at
~~
~, court lobby. Court Clerk Candis signed her name, told me: "You can receive
2G
        stamped date in next day." I was satisfied let me know and expecting for it.
2~

Zx                                                                                        -~
        PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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          After I out of Court, I direct went to Post Office sent a same copy to KER office

          and wrote a note: "I'll send Court stamped date on cover page after I received."

          8.    On November 24, 2020, I still did not receive the stamped cover page,

          and checked my documents did not show on ROA docket, I was extremely

          worried due to Summary Judgement CourtCall less ten days on 12/3/2020.

          asked Court Clerk Susy, and she emailed to Candis: "Why Plaintiff did not

          receive her stamped date after she filed in last time which was on 11/18/2020?
 i r:
 li       the answer was: "Supervisor hold on my documents." I asked: "Why? "What's
 IL
          Supervisor's name? Susy not too sure and suggested I should file again.
 i ~:
~a        9.    After I filed second time, I was so shocked, Plaintiff's Dispute Summary
,<
          J udgement documents still not show on ROA Docket."What was went wrong?"
is
           did not know Supervisor Stacy D Secours personally,"Why did you twice hold

 ~~       my dispute summary judgement intentionally?" until to today still hold on to.
 1~
          Plaintiff demand his answer and my MSJ document return to Plaintiff ASAP.
Zc
z~ 10. During 2021, Plaintiff filed three-time complaints to Presiding Judge, and
   once again in 2023. due to the Court's employee as supervisor TWICE stopped
22 scan to ROA Docket, that was intentionally in violation of Due Process of
   Fourteenth Amendment that subject matter for INVESTIGATION.
,.,
~: Finally, I had a letter, with respect if High Courts can solve the problem. Now,
   Appellant hope Federal to have fully investigation. Otherwise, that can
u
   encourage filing conspiracy and scandals easily to corrupt our Country's for
z~ many years build up Great Courts Legal System!
,~
          PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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 i ~ 11.       Also, Plaintiff demand answer from KER, as KER Legal Group's owner:
 2
         "Why did your KER let Supervisor Stacy hold on Plaintiffs dispute Summary
 3

 =~ Judgement to ROA Docket?" Both engaged conspiracy My claim is when
 s
         Courtroom Operation Supervisor abusive of discretion, abusive of due
 6

         process, the summary judgement must invalid immediately!
 s
 9
                          Statement of Facts and Claim —Two
10
         Judge George violation in Due Process disallowed have Oral argument

IZ       12.   On December 3, 2020, it was Thursday afternoon, during summary
13
         judgement court call hearing, Judge Stephanie George, as temporary only
~~
         once for the case. I asked questions in beginning, such as: "I filed in timely,
is
i~       have trucking history, did you read my files? she has no any answer. She
i~
         asked:"Do you know the City filed tentative ruling?" I answered: "I don't know",
is
19       after she reading based on only the City's tentative ruling,(My SMJ file still hold
20
         on by Supervisor Stacy) Judge George should stop and ask Plaintiff before
21
         granted summary judgement:"What do you want to response?" but she did not
22
     I
23       stop, did not gave an opportunity let Plaintiff to response. She just continues to
Za
         reading the last sentence: "Summary Judgement is granted." The City's
25

2~ attorney Keith E, Rodenhuis immediately said: "Thank you your honor!" After
2~        heard that four words, I was emotionally, "It's not fair, that only for one big
2g                                                                                         6
         PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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         party's ruling?" Judge George continue ignoring me, did not answer my any of
    z
         questions and she went next case. I hold on phone for half hours, try to find

         chance if can speak to her, but my phone line was cut off. From Supervisor

         Stacy hold on my files to no chance for response only party's opinion. From
    c~
    7I KER Group outright lied for had Oral Argument, they all can using three ways

    K    analysis "How can have oral argument KER only said:"Thank you your honor?"
    ~~
         1 3.   See Attached Evidence from KER Group filed: "Motion for Sanction," on
io
ii       4/14/2021 and 5/24/2021,(KER filed twice for the revenge sanctions) to proof
IZ
         KER only said four words on top of two line's description: "He was only able to
1~
~ -~     get out four words "thank you your honor" before Ms. Fan interrupted again."

>>       cannot interrupt him due to AFTER KER said four words.
~ ~>
           I mportant, Judge George did not ask for Plaintiff to response the
~~
18       Tentative ruling and straight way to Granted summary judgement.
1 ~I
          spent all day try to if can speak to Judge George, but I have no idea which
zo
z~       courtroom she was in? Finally, I found phone number and left message at

22       Courtroom C22 which is or assigned Judge Salter at 7.15 pm in Friday night.
23
          filed Contest Tentative Ruling with argued Tentative ruling on Monday,
24

z        1 2/7/2020. Arguments such as: "The City need to hire a dozen of employees
2~>
2~

2K                                                                                         7
         PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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     for warnings," I argued: "does not, just set up warning sign". KER claimed he

     never received, but I have email to proof he lied and received it.

     14. Again, I filed eleven arguments for disputed tentative ruling, KER claimed

     he did not have that, but I have email to proof he lied and received it.

     Argument continues on the City's immunity, by law section 24: "In the United

     States, sovereign immunity typically applies to federal government and state

     governments, but not to municipalities."
IC

     15. On 3/3/2021, from Judge Stephanie George granted Judgement: "the
i2
     Court finds that there is no triable issue as to material fact ", that was: "No
13

i~   Plaintiff's dispute Summary Judgement material, how can you know what was
i~   triable issue?" Furthermore, "How can Judge George make correct decision
iF
     only based on the City's opinions?"
1~
is      "Why our Country need Due Process in support Courtroom operating?"
19
       "Why we are People need Respectful and Trustworthy Judges?"
Za
21   Because is to adjudicate legal dispute all parties, not for a party ruling
22

23
     My claim is: Judge George only based on the City's file and evidence
24     proof she did not engage Oral Argument, and abusive of power in
25   violation of Due Process Fourteenth Amendment. Therefore, granted
                    Summary Judgement must be dismissed.
26

27

28                                                                                     8
     PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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                   Statement of Facts and Claim —Three

         Appellate Court of Fourth Appellate District Division Three's Opinions
       based on violation of due process of 14th Amendment from two
       defendants engaged conspiracy to dismissed appeal due to adopted
       KER's Group Conclusion, and proof the City of Newport Beach was the
       Appellate Court truly favoritism and careless on Children s safety.


       16. Appellant Court's opinion mentioned: "The City filed a motion for
       summary judgement, the motion is not in the record. Nor is Fan's opposition to
~o     the summary judgement record motion, if any." Due to Supervisor Stacy did
       not scan to ROA Docket and Judge George did not engage the Oral Argument,
►~     so the dismissed appeal was extension for only the City's opinion, it this why
12     need Due Process Clause Protection!
13

~ -~   17. The truth was, I attached the City provided evidences of Summary
       Judgement was filed in Sep 21, 2020. Four evidences file to Appellant Court:
i
~ ~~
i~       1). Declaration from Mark Halphice who as chief of Newport Beach fire
       department for 36 years. He decelerated: "Sand, by its very nature, becomes
i~     more tightly compacted after it has been wet or submerged by frequently rising
1 ~~   tides. Consequently, the sand on the bay beaches and surrounding the Tower
       is denser and more tightly, clay like"
zo
Zt
       After I read declaration than I learnt why the sand same as concreate in
22
       underground, due to frequently high tidal surrounding lifeguard stand on Marina
z~     Park that located Newport Bay, with no warning signs. Thereafter, turning to
2-G
       dangerous condition, caused Plaintiff's slip /fall /pothole broke bones injury.

2>

z~     2.) Declaration of Micah Martin, his position is Deputy of public worker. He uses
       beach raking machines daily on the beaches, but not on the Newport Bay, and
2~
       he got hired after I had injury on May 15, 2018.
Zx                                                                                      ~~
       PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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       3.) Declaration of Eric Foley who as a certified inspector for 16 years.
       From his decelerated: "I never observed children playing on the subject and
       never been told that children have been playing on the tower."


       From new evidence on 01/18/202, and 7/31/2022, which Plaintiff token photos
       and videos as all evidences to proof Kids jump up down, especially, recent
       photos with no warning sign on high tides submerges compact sand. Nobody
       can see through WET in under no warning signs, which worry me every day.
       4.) One photo as evidence, both party's exchanged exhibits as evidence during
       deposition all day on August 12, 2020, for court trial on 01/26/2021, and
       rescheduled to 03/29/2021.
~o
~~          Appellate Court also have other two reasons to dismissed Appeal.
i?
~~        1) Failed to file timely. If use 180 days, I only used 152 days. Also, assigned
14
             Judge Salter concluded from post judgment on 6/17!2021:
            "Given one or the arguments is that Fan was not afforded the
1~           opportunity to engage in oral argument on the summary judgement
«~           motion, the court concludes it MUST allow the motion to proceed
             as timely filed."

i~
             After Judge Salter Post Judgement, the failed timely should not the issue
~ ~~
             brought up to Appellate Court. But KER still use frivolous matter, and so
~~~          shocked to me, Appellant Court was dismissed appeal for such reason.
z~
zz        2) Failed to present any intelligible articulate legal argument, that was truly
~;           i nsulting Plaintiff and with prejudice judgement.    Plaintiff was intelligent
             enough to analysis and argued Code 831.2 this not apply in improved
~~           property, that frequently high tidal are foreseeable and predicable.
~;
z~>
~~
~~                                                                                        io
       PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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        18. Above two reasons to dismissed appeal, that exactly adopted KER
       Group Conclusion on 11/4/2021. Evidence to proof Appellate Court was
       extension of in violation of due process clause from both Defendants.

 -~
       After I filed Petition of Review to Supreme Court of California in San Francisco,

 ~~    the City no any of response. A month later, Supreme Court dismissed the

   review without any opinion or writing. I called and been told: "The court is too
 x
 ~ busy, average one hundred cases a day, and suggested I should file to Federal
 ,
1O
       Court." I asked if in Washington, they said no, in Center district in Santa Ana.
ll
       Claim is Plaintiff suffering too much from both defendants engaged
~z
i, conspiracy together in violation of due process, deprived Plaintiff's
~ -~
       rights and demanding for due process Right for fair justice and children's
~~
~ c~ safety! All above, the City is not Prevailing Party, KER does not entitle for

       any of reward costs.
1g
~~                     Statement of Facts and Claim —Four
Zo      All Evidence to proof KER Group how to engage conspiracy to conduct
~~     scandals illegally and repeatedly from Superior Court to Appellate Court.
22'
       1 9.   Plaintiff demand an answer from the City's attorney Keith E. Rodenhuis
2;

2-1
       as KER Legal Group's owner:"Why did you let courtroom operation Supervisor,

2~     Stacy D. Secours, to hold on Plaintiff's Court Documents for Dispute Summary
2Ei
       J udgement?" which was twice hold on to, as prove that was intentionally.
2~
,~                                                                                     ii
       PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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       20.   On May 24, 2021, KER Group filed Motion for Sanction based on
  2
       threaten Plaintiff must withdrawal motion for dismiss wrongful summary

 -~ judgement before May 5, 2021, if do not, they file Sanction for revenge.

       Because wrongful motivation, so the Sanction fully of accusations, outright lies
 ~~
       from beginning to ending. Fortunately, assigned Judge Salter dismissed the

 x Sanction and legal fee $5,525 That to prove KER in violation of due process.
,~
   21. On 2/7/2022, KER sent an email attached anonymity letter. The letter is
iu
>>     evidence to proof KER Group conducted ugly scandals, using anonymity
i~
       letter continue to outright lies in Appellant Court. Anonymity false accusations
13

~~     insult, abusive, harassment, hurtful, nobody backbites like that in my life. As

~>     City's Attorney for such all above, totally unacceptable, and shameful.
1 fi
       Purportedly lies to court, as represent under penalty of perjury!
~~
is 23. On 12/20/2023, KER Group claimed recovery cost in Deposition $3,776.
~ ~~
     On 12/22/2022, after two days (but KER still blamed that failed timely, he just
2c~

2~     cannot stop lies), I filed Response: "The City is not truly prevailing party,
22
       KER Group is not qualified for recovery cost. Based on they illegally
23

2-~ conducted scandals from Superior Court to Appellant Court."
~; Because the City's attorney engaged conspiracy that fundamentally serious
2G
       in violation of Due Process and play ugly scandals behind, (hope that just
~~
~~                                                                                      12
       PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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    i   temporary for prevailing) Plaintiff is still does not give up, Hope and
   2
        Respect Federal Court is following on 14th Amendment to make

   -~   corrections for allowing back for due processing.

        24.   Also, the deposition cost is disallowable for award cost by 1033. Details:
   ~>
        "Deposition for investigation for Court Trial is disallowable, only expense

   x    associated with Depositions." Again, assigned Judge Salter's ruling: "the costs
   ~~
        are not statutorily authorized or not reasonable under the facts." KER as
 to
 >>     professional attorney whom knowledge deposition is disallowable, but still
 ~z
        wants get double paid due to from Plaintiff and the City has been paid the bill.
 ~ .~
 i -~   25.   History always repeats! On 12/30/2019, KER Charged $9,500 for lega

 ~, fee, but split 50/50 between the City and Plaintiff as victim, that means KER
 1 ~>
        spent same amount of time to deal same case for both sides, that was truly

 ~s conflict in interest.      Fortunately, that was first time disallowed charge by
 i ~~
        assigned Judge Salter. "Why KER always so greedy? and played such ugly
zo
zl      scandals?" Evidence to prove KER engaged conspiracy deprived Plaintiff's

22      h uman right, Court Procedural Right and Citizen Civil Right for Court Trial, for
23
        Fair Justice and Children's Safety. In this common lawsuit, he tried maximum
,.~
~>      to take advantage of Plaintiff as Self—Represent. That was worst experiences
26

27

28                                                                                       13
        PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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 1    never been before. Direct causation for the City represents by KER Group
 2
     filed Summary Judgement must invalid immediately!
 3

        My Claim is that such ugly scandal plays in behind to against Due Process,
 5
     the Summary Judgement should invalid immediately. Otherwise, same as virus,
 6
     corrupt our country build up great legal system so easily. Also, claiming:

 s      Purportedly lies to court, as represent under penalty of perjury!
 9

io                    Statement of Facts and Claim —Five
ii
      Because the City's no more "KEEP OFF" Sign, that remains even
IZ
     more dangerous condition and leaves of public, including children
13
     who play there at risk.
~~
is
   26. City of Newport Beach failure to notices SAND submerges with WET
i~ which high tides in underground, and surrounding the lifeguard Stand, that
i~ caused Plaintiff's Slip /Fall /Pothole injured to broke left forearm and foothill.
   U ntil now still no warning signs constantly since after injured five years ago.
is
19
     Because no warning of hiding WATER, nobody can see through dry sand in
Zo   underground that same as concreate surrounding Lifeguard Stand.
21

22
     27. I worry anyone can injury again from the hiding the "Pothole," especially,
23

24
     since the new evidence photos and videos from 2021 and 2022. From all

Zs evidence shows more in children's Park need extra care. The City failure to
26 provide due care same as Ocean front, The City cannot ignore and failure to
2~   following National Safety Council about sand rules, such as: have six-foot long
28                                                                                    14
     PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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 1
     drop off zone, cover depth fluff sand and rake sand daily, and do not tread
 2
     children's safety and provide due care as secondary.
 3

 4
     28. Plaintiff have all strong relevance evidences to establish the lawsuits,
 s
 6   Plaintiff's Courts documents based on all evidences to proof the truth.
 7
     Defendant does not present facts of authorities relating to the case merits, no
 s
 9   evidence in support to proof Plaintiff's injury does not cause the City
10
     negligence. Opposition has no evidence to defense Plaintiff's injury, which
ii
     have no good reason, just outright lies for using failed timely all the time.
12

13   Plaintiff listed Citations for legal justification and evidences, please see original
14
     complaint filed on 12/2/2022
is
i~ Plaintiff Claim: Respect Federal Court for Protection for Due Process right back
   for Court Trial for Facts Check, for Children's Safety. Also, Premise Liability
i~ against the City cause of PlaintiffsSlip /Fall /Pothole which direct causation
ig broke bones injury without warning signs for four foreseeable conditions, that
   only the City's management knowing.
19

20

2~                            Request for Relief
22

23   29    WHEREFORE, the Plaintiff requests:
24

zs For this case, Everything I do, do for to prevent children and visitors that
Zc water in under with no warnings, to avoid what suffering I have been
   through at Children's Marina Park.
2~

Zx                                                                                      is
     PLAINTIFF FILES FEDERAL QUESTION JURISDICTION TO PURSUANT FOR FOURTEENTH AMENDMENT
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     30. For this case, Everything I do, do for to make sure children jump down at
     lifeguard stand if at the save place and provide good due care same as
     Oceanfront, also, within warning sign of WET in underground is the MUST!


     31.    Plaintiff demand for Protection of human rights, Citizen Civil Right, Due

     Process Right to make sure Court proceedings if fair, that proper laws were

     applied correctly, Pursuant Due Process Clause of Fourteenth Amendment.

     32. Compensatory damages, including General and Special damages,
is   according to proof. Any further relief which the Court may deem appropriate
i~
     33.                              Do not Demand for Jury Trial
i~

     Fair justice is our time dream for! Equality is our society stand for!


                                Respectfully and Truthfully Submitted,


                                                        YAXIA       FAN,


Zc   Date: 03/24/2023                             Plaintiff in Self —Represent
2]
     List of attached evidences and form for amended Cover sheet.
2~
     1). Please see attached an Amended Cover Sheet for subject matter jurisdiction.
2~
     2). Evidence from two clerks PlaintiffSummary Judgement twice hold on by Superior Stacy S.
24

2~   3). Evidence for No Oral Augment during Summary Judgement Court Call Hearing, four words

2E   opposition only said four words:"Thank you your honor" on 12/3/2020. 4. Post judgement from
2.
     assigned Judge Salter, MUST file timely and do not engage oral argument on 6/17/2021.
2F                                                                                   16
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                     ~~1~ ~ ~ i


                            ~I
          Case 8:22-cv-02178-FWS-DFM      Document
                           UNITED STATES DISTRICT     16CENTRAL
                                                  COURT,  Filed 03/24/23
                                                                 DISTRICT OFPage 18 of 27
                                                                            CALIFORNIA ~~~Page ID #:155
                                                                        CIVIL COVER SHEET
I (a)PLAINTIFFS (Check box if you are representing yourself ~)
.                                                                                     DEFENDANTS              (Check box if you are representing yourself ~ )
 Yaxian Fan                                                                            Ciry of Newport Beach -Represent by KER Legal Group
                                                                                       Orange County Superior Court


(b)County of Residence of First Listed Plaintiff Orange County                        County of Residence of First Listed Defendant                  Orange County
(EXCEPTIN U.S. PLAINTIFF CASES)                                                       (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys(Firm Name,Address and Telephone Number) If you are                      Attorneys(Firm Name,Address and Telephone Number) If you are
 representing yourself, provide the same information.                                 representing yourself, provide the same information.
 Yaxian Fan, Address: 248 Overbrook,Irvine CA,92620                                    KER Legal Group




II. BASIS OF JURISDICTION (Place an X in one box only.)                      III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                  (Place an X in one box for plaintiff and one for defendant)
                                                                                                           PTF   DEF                                           PTF DEF
     1. U.S. Government           ~ 3. Federal Question (U.S.                                              ~ 1   ~ ~     Incorporated or Principal Place       ~ 4 ~ 4
                                                                             Citizen ofThis State
    Plaintiff                          Government Not a Party)                                                           of Business in this State
                                                                             Citizen of Another State      ~ 2 ~ 2 Incorporated and Principal Place            ~ 5 ~ 5
                                                                                                                   of Business in Another State
     2. U.S. Government               4. Diversity (Indicate Citizenship     Citizen or Subject of a
     Defendant                        of Parties in Item III)                Foreign Country               ❑ 3 ~ 3 Foreign Nation                              ~ 6 ~ 6


IV.ORIGIN (Place an X in one box only.)
❑ 1.Original   O 2. Removed from           ❑ 3. Remanded from ❑ 4. Reinstated or  5. Transferred from Another ❑
                                                                                                                                 6. Multidistrid          s. nnuitidistrict
                                                                                                                                    Litigation -      ~      Litigation -
    Proceeding     State Court                 Appellate Court    Reopened       ~ District (Specify)                               Transfer                 Direct File


V.REQUESTED IN COMPLAINT: JURY DEMAND: ~ Yes ❑X                                  No     (Check "Yes" only if demanded in complaint.)
CLA55 ACTION under F.R.Cv.P.23:                ~ Yes ~X No                         ~X MONEY DEMANDED IN COMPLAINT: $ 500,000
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Both Defendants violation of Due Process Clause of the Fourteenth Amendment that derive Plaintiff's citizenright for due process,for facts check,for Children's Safety


VII. NATURE OF SUIT (Place an X in one box only).
     OTH£NSTATUTES                 CONTRACT          REAL PROPERTY tONT.              IMMIGRATION       PRISONER PETITIONS                         'PROPERTY RIGHTS
     375 False Claims Act    ❑ 110 Insurance         ~ 240 Torts to Land              462 Naturalization  Habeas Corpus:                  ~ gz0 Copyrights
                                                                                      Application      ~ 463 Alien Detainee
    376 Qui Tam              ~ ~ ZO Marine       ~ 245 Tort Product                                                                       ~ 830 Patent
   (31 USC 3729(a))                                 Liability                     465 Other              510 Motions to Vacate
    400 State                ❑ 130 Miller Act    ~ 290 All Other Real           ~ Immigration Actions ~ Sentence                            835 Patent -Abbreviated
    Reapportionment                                 Pro e                              TORTS           ❑ 530 General                      ~ New Drug Application
                               140 Negotiable
    410 Antitrust            ~ Instrument                TORTS                  PERSONAL PROPERTY ❑ 535 Death Penalty                     ~ g40 Trademark
                               150  Recovery  of  PERSONAL INJURY                                            Other:                       ~ 880 Defend Trade Secrets Act
    430 Banks and Banking                                                       ~ 370 Other Fraud
                               Overpayment &     ~ 310 Airplane                                        ~ 540 Mandamus/Other                 of 2016(DTSA)
    450 Commerce/ICC           Enforcement of      315 Airplane                 ~ 371 Truth in Lending
                               Jud9ment                                                                                                              SOCIAISECURITY
                                                                                ~ 380 Other Personal ❑
     Rates/Etc.                                  ~ Product LiabilitY                                     550 Civil Rights
    460 Deportation
                               151 Medicare Act    320 Assault, Libel &           Property Damage      ~ 555 Prison Condition             ❑ 861 HIA (1395f~
     470 Racketeer Influ-                        ~ Slander
     enced & CorruPt Or9•      152 Recovery of                                    385 Property Damage                                     ❑ 862 Black Lung (923)
                                                   330 Fed. Employers'          ❑ Product Liability             560 Civil Detainee
    480 Consumer Credit ❑ Defaulted Student ~ Liability                                                      ~ Conditions of              ~ 863 DIWC/DIWW (405(g))
                               Loan (Excl. Vet.)                                   BANICRUPTCIf                 Confinement
    485 TelePhone                                ~ 340 Marine                                                                                 864 SSID Title XVI
                                                                                ~ 422 Appeal 28               PORFEITURE/PENpLTY
    Consumer Protection Ad     153 Recovery of     345 Marine Product
                             ❑ Overpayment of    ❑ Liability                      USC 158                      625 Drug Related           ~ 865 R51(405 (g))
    490 Cable/Sat N
                               Vet. Benefits                                      423 Withdrawal 28          ~ Seizure of Property 21
    850 Securities/Com-                            350 Motor Vehicle            ❑ USC 157                                                          FEDERAI.TAX SUITS
     modities/Exchange         160 Stockholders' ❑
     890 Other Statutory     ~  Suits            ~ 355 Motor Vehicle               CIYlL RIGHTS '            ~ 690 Other            ~ 870 Taxes (U.S. Plaintiff or
                                                   Product Liability                                                ~gaR              Defendant)
     Actions                   190 Other                                        Q 440 Other Civil Rights
                                                   360 Other Personal                                                                 871 IRS-Third Party 26 USC
     891 Agricultural Acts     Contract          ~ Injury                       ~ 441 Voting             ~ Ac0 Fair Labor Standards ❑ 7609
    893 Environmental        ~ X95  Contract     ~ 362 Personal Injury-         ~ ~2 Employment
                               Product Liability   Med Malpratice                                        ~ 720 LabodMgmt.
     Matters                                                                                               Relations
    895 Freedom of Info.       196 Franchise       365 Personal Injury-           ~3 Housing/
    Act                      ~                   ~ Product Liability            ~ Accommodations         ~ 740 Railway Labor Act
                              REAL PROPERT(        367 Health Care/               445 American with
    896 Arbitration                                                                                      ~ 751 Family and Medical
                               210 Land          ~ Pharmaceutical               ❑ Disabilities-            Leave Act
    899 Admin.Procedures       Condemnation        Personal Injury                Employment
    Act/Review of Appeal of ~ zZ0 Foreclosure      Product Liability              446 American with      ~ 790 Other Labor
    Agency Decision                                                             ~ Disabilities-Other       Litigation
                                                   368 Asbestos
    950 Constitutionality of   230 Rent Lease & ~ personal In'u                                            791 Employee Ret. Inc.
                                                              1 rY              ~ 448 Education
    State Statutes             E'ectment           Product Liabili                                         Security Act

FOR OFFICE USE ONLY:                   Case Number:
N-71 (10/20)                                                               CIVIL COVER SHEET                                                                 Page 1 of 3
           Case 8:22-cv-02178-FWS-DFM      Document
                            UNITED STATES DISTRICT     16CENTRAL
                                                   COURT,  Filed 03/24/23
                                                                  DISTRICT OFPage  19 of 27 Page ID #:156
                                                                              CALIFORNIA
                                                                                 CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change,in accordance with the Court's General Orders, upon review by the Court ofyour Complaint or Notice of Removal.
QUESTION A: Was this case removed
from state courtl                                                 STATE CASE WAS PENDING IN THE COUNTY OF:                                    INITIAL DIVISION IN CACD IS:
               Yes ~ No
                                                  Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                                Western
If"no," skip to Question B. If "yes," check the
box to the right that applies, enter the        ❑ Orange                                                                                                 Southern
corresponding division in response to
Question E, below,and continue from there. ❑ Riverside or San Bernardino                                                                                  Eastern



QUESTION B: Is the United States,or 8.1. Do 50%or more of the defendants who reside in                        YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees,a  the district reside in Orange Co~                                       0 Enter "Southern" in response to Question E, below,and continue
PLAINTIFF in this action?                                                                                     from there.
                                    check one ofthe boxes to the right ~~
                Yes Q No
                                                                                                            ~ NO. Continue to Question B.2.

                                                 6.2. Do SO% or more of the defendants who reside in          YES. Your case will initially be assigned to the Eastern Division.
If"no,"skip to Question C. If"yes," answer       the district reside in Riverside and/or San Bernardino     ~ Enter "Eastern" in response to Question E, below,and continue
Question B.1, at right.                          Counties? (Consider the two counties together.)              from there.

                                                 checkone ofthe boxes to the right      ~►                         NO. Your case will initially be assigned to the Western Division.
                                                                                                                   Enter "Western" in response to Question E, below, and continue
                                                                                                                   from there.

QUESTION C: IS the United States, or C.7. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                          ~ Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                      from there.
                                     check one of the boxes to the right   ~~
                Yes Q No
                                                                                               NO. Continue to Question C.2.

                                                 C.2. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer   district reside in Riverside and/or San Bernardino      ~ Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                          Counties? (Consider the two counties together.)           from there.

                                                 check one of the boxes to the right    ~r                         NO. Your case will initially be assigned to the Western Division.
                                                                                                                   Enter "Western" in response to Question E, below, and continue
                                                                                                                   from there.
                                                                                                              A.                         B.                           C.
                                                                                                                                  Riverside or San          Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                 Orange County                 Bernardino County          Santa Barbara, or San
                                                                                                                                                             Luis Obispo County
Indicate the locations) in which 50% or more of plain[iffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the locations) in which 50% or more of defendanTs who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices                            0
apply.)

                D.1. Is there at least one answer in Column A?                                              D.2. Is there at least one answer in Column B?
                                        Yes      ~ No                                                                         ~ Yes          ~ No

                    If "yes," your case will initially be assigned to the                                      If "yes," your case will initially be assigned to the
                                 SOUTHERN DIVISION.                                                                           EASTERN DIVISION.

     Enter "Southern" in response to Question E, below, and continue from there.                               Enter "Eastern" in response to Question E, below.
                          If "no," go to question D2 to the right.          ~~                            If "no,"your case will be assigned to the WESTERN DIVISION.
                                                                                                              Enter "Western" in response to Question E, below.                ~.


QUESTION E: Initial Division?                                                                                             INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above: ~♦                  SOUTHERN                                                                               Q

QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                            ~ Yes            ~X No
 CV-71 (10/20)                                                                    CIVIL COVER SHEET                                                                 Page 2 of 3
          Case 8:22-cv-02178-FWS-DFM      Document
                           UNITED STATES DISTRICT     16CENTRAL
                                                  COURT,  Filed 03/24/23
                                                                 DISTRICT OFPage  20 of 27 Page ID #:157
                                                                             CALIFORNIA
                                                                            CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                  ~ NO                ~X    YES

        If yes, list case number(s):     822-cv-02178-FWS-DFM Honrable Judge: Slaughter (Previously Original filed on December 2,2022)Today filed an Amendment.

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal cases) previously filed in this court?
                                                                                                                                                    NO            ~ YES
        If yes, list case number(s):


        Civil cases are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;
                   6. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

        Note: That cases may involve the same patent,trademark,or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening,or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by differentjudges.                       ~


 X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):                                                                                                    DATE: 03/24/2023

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form N-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet(CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits(Medicare) under Title 18, Part A,of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc.,for certification as providers of services under the program.
                                                  (42 U.S.C.1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.(30 U.S.C.
                                                   923)
                                                   All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                       DIWC             all claims filed for child's insurance benefits based on disability. (42 U.S.C.405 (g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                       DIWW
                                                   amended.(42 U.S.C.405 (g))

                                                   All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
        864                       SSID
                                                   amended.

        865                       R51              All claims for retirement(old age)and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                  (42 U.S.C.405(g))




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                 E~



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   Case 8:22-cv-02178-FWS-DFM Document 16 Filed 03/24/23 Page 22 of 27 Page ID #:159




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                              d by  Plai  ntif f's   sho uti  ng,  ado   pte  d the tentative as its final ruling.
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4 KER'!       ~                               ~~                    './
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               Fr  om  the   Dec  emb  er   3, 202    1 oral argument to the present, our firm
5
                                                                                                            of KER,Exhibit E.
                   and  doc   ume  nts  from     Plai  ntif f. Decl. ofKER T IS; See also, Decl.
6 ofemails
                                                                                                                 Court, the City
                        nt  con tai ned   thre  ats   and  out  lan  dishly false allegations against the                       LFe-      ~i2,
 7 Each docume
                                                                                                a "fake~judge". In the,~~,/ ~ ~L
            KE  R  Leg  al  Gro  up,  inc  lud  ing calling 7ud~e Stephanie George                                           1
 8 and                                                                                                                    er  should
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                 ts,  Ms.    Fan  rep  eat  edl  y  stat ed, "I still hope the real Judge: Honor
  9 documen                                                                                                                                u~`.
                                                                                                             temporary 3udge
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10 to review                                                                                                              ''    ' v~ a~%~.
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                                on  3/3  /20 21:    ' See , Dec  l.  ofK    ER,Ex. A & E. ~~ n~~~                                          ~~
lI Stephanie Geozge                                                                                          ee (3)    do  cu   me nt s
                                                                                                       h thr
                                                                our firm received an. email wit                                            ~~
 12              On March 25,2021 at 1:38p.m.,
                                                                                                        of an abundance of ,,~ { ,'TT.
                                                             uments were nonsensical, but out
                                                                                                                                            r      c"cti
               ed.  Dec  l. of  KE  R   T  16.  The     doc
 13 attach                                                                                                  bad somehow ~`                  _~,--~
                   our  firm   che  cke  d  the   Reg  ist er of Actions and discovered Ms. Fau                                                  ~.~:<
                                                                                                                                            ~..~.•
 14 caution,                                                                                                    ice. Unsure      of the `
                                                                  t day, despite failing to eve anv not
        sc hed ule  d an ex parfe hearing for the nex                                                                                       ~~
  i5                                                                                                       g.  Dec   l _ of  KE  R T I7.
                                                            telephonically a peared at t3~ hearin
        ba sis ofPlaintiffs ex pane,the City                                                                                                 T '~
  16                                                                                              nor able Salter) again
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                  During the March 26,2Q21                                                                                                   -t-v,
  17
                                                                        ument held by a `Yea1judge" Honorable
                                                                                                                             Stepha nie  ~       ~~~
                          Plai ntif f tha t the   re  was   ora l  arg
   ~s ~plained to                                                                                        was repeatedly
                                                          Piainti#~s case was over. The Court
         George on December 3, 2021, and
   19                                                                                                        ak, further delaying
                  pte d by   Plai ntif f sho uti    ng "_N o!" The Court was fozced to take a bre
         interru
   2Q                                                                                                                   l. ofKER~
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         the other eme                                                                                    ~,,,~ .~- ~,           ~ ~`~
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                   On March 31, 2021, we received ano
   23                                                                                                                 s(the
                                                                 ¶ 19. The email contemned three(3)PDF
          movi   ng papers attached. Decl. ofKER
    24
                                                      by Plaintiff as:
         "Challenged Motion") labeled
    25                                                                                                                 R,Ex. Al};
                                                                          judgement[sic]" {See, Decl. of KE
                          1."Motion for Vacate Wrongful
    26                                                                      ]"(See,Decl. ofKER,Ex. A2); and
                         2."Contesting the}udgement jsic
     27                                                                   e, Decl. ofK.ER,Ex. A3).
                          3."Contest tentative ruling"(Se
     28                                                                                                                                            3
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            1'
       Case 8:22-cv-02178-FWS-DFM Document 16 Filed 03/24/23 Page 26 of 27 Page ID #:163
                             _-          J
            .    ~-✓a `"` ` _~ {C~[':                                                                             ~~
6/17/2021 -                          ~ "f ;~~'-s`                     Rulings 1


                                        /       wrongful judgment." But the only extant
                             —~-~'~..e--~t      document in the file is the clerk's rejection.
                                    ~~~~Y/ (RAO 190.) Fan made several other requests
                         ~ 3f                   to bring her claims as to the alleged
                         ~ ~1 .3 /~ ~ ,,~~~ wrongfulness of the judgment to the court's                `~
                                                attention, but they were all rejecterJ_1~~r~Ja~_.
                           e .~~ 1 ~ ' clerk's office for noncompliance ~itb the RuIP~_._
                                     `~       . of Court.
                        ~l0                ~~                                                           ~'_
                         ~y~~~~°~'~' ~ ~,~ ,~n March 26, 2021, Fan filed a motion to
                              ~- ~ r,,~-~-G~~'' ~racate what she termed a "wrongful"                `4
                        ~~.- ~,~ D~ '; judgment. (ROA 205.) Apparently, this was
                         w►~                  F after Judge Oberholzer denied her ex narte.~
                        3_                    ' request to continue trial of a matter that had
                                                been dismissed. (See ROA 203.) She
                                              ' attempted to file a new motion to vacate on
                                                May 17, 2021, but that was rejected ~Qr _fai.lure
                                                to pay a i ing ee and because there was
                                                alrea y a motion o vacs e on Galen ar.        ee
                                                ROA 225.       ~7cs,,c,( ~o, .~    C~I~'f` .;~5j~~1
                         i
                                                       The court understands the plaintiff to make     IT
                                                       three basic arguments: ~t}~]udge George was
                                                       not a "real" judge and, in any event, she was
                                                       wrong to grant summary judgment under the ~~~ ~~~s
                                                       facts; .(2Lplaintiff was deprived of the       ~-
                                                       opportunity to engage in oral argument, and   ~-`~"
                                                       (3) there is additional documentary and
                                                       ~ographic evidence that proves the
                                                       plaintiff's case.

                                      '%First, the City argues the motion was untimely
                       ,r`~~ ~-    ~ filed. It is unclear from the nature of the
                      ~~~= ~~             motions and other documents filed what
                         ~   ~,~~,~,~~~ documents should be considered as the motion
                                       ,~ Flow before the court. Because Fan tried to file
                      ~ ~     5~          a declaration raising the issues she raises now
                       o~               ' right after the judgment was entered, this
                                          court is inclined, out of an abundance of
                                        ' caution, to deem the motion timely. Given one
                                          of the arguments is that Fan was not afforded                                     :;,.
                            ~             the opportunity to engaqe in oral argument on                                    '~~
                                          the summand i~.~J.gment motion the court                                       wx ~,
                                  ~,    ' concludes it must allow the motion to proceed ~;~.•. •.                      ~~
                                          as timely filed

                                                        Fan's assertion that Judge George is not a "real   ~~`j
                                                        judge" and somehow this court had to hear the
                                                        summary judgment motion is wrong. Judge
                                                      : George is a duly elected judge of the Orange
https://www.occourts.org/rulings/gsalterrulings.htm                                                               5/13
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                                                                                                                                           pns_nsniFF~_nsn
 ATTORNEY OR PARTY WITHOUT ATTORNEY:             STATE BAR NO:                                                                  FOR COURT USE ONLY
 NAME: YaX1811 F811
 FIRM NAME:
 STREET ADDRESS: 24$ ~V@PbfOOI(
 CITY: ~NIII@                                                      STATE: Ca      ZIP CODE: 92620
 TELEPHONE NO.: 3~ 0-X86-JZBZ                                      FAX N0.
 E-MAIL ADDRESS: fay73~ ~p yahOO.COfTI

 ATTORNEY FOR (name): Sg~f-Rgpf@S@flt

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF Central District of California-Southern Div
  STREETADDRES5:4~ ~ W FOUI'tFl St
  MAILING ADDRESS:
 CITY AND ZIP CODE:S2flt8 AflB, CA 92701
     eRnNCH rnnne: Ronald Regagan Federal Building - an U/S/ Courthouse                                        CASE NUMBER:

  PLAINTIFF/PETITIONER:Fay                                                                                     8:22-CV-02178-FWS-(DFMx)

 DEFENDANTlRESPONDENT:C:ity of Nawnnrt Raarh / f~ran~a C~ni inty Si inarinr C:rn in                            ~uoicin~ oFFiceR:
                                                                                                               Honor. Judge Fred W. Slaughter
                                                                                                               DEPARTMENT:
                                PROOF OF ELECTRONIC SERVICE
                                                                                                                D10


1. I am at least 18 years old.
     a. My residence or business address is (specify):
        248 Overbrook
        Irvine, CA 92620

     b. My electronic service address is (specify):
        fay731 @yahoo.com

2. I electronically served the following documents (exact titles):
     1)Amended Complain for both defendants violation of Due Process Clause of the Fourteenth Amendment,
     2)Amended Cover Sheet for Federal Question Jurisdiction

         0x      The documents served are listed in an attachment.(Form POS-050(D)/EFS-050(D) maybe used for this purpose.)

3. I electronically served the documents listed in 2 as follows:
   a. Name of person served: keith E. Rodenhuis. Amber McCall, Roaer. Superior Court in Orange
          On behalf of(name or names of parties represented, if person served is an attorney):
          City of Newport Beach
     b. Electronic service address of person served
        keith@kerlegalgroup.com, amber@kerlegalgrouo.com, Rodge@kerlegalgroup.com, cnbfan federal@projects.filevine.com
    c. On (date): 3/24/2023

         O
         x The documents listed in item 2 were served electronically on the persons and in the manner described in an attachment.
           (Form POS-050(P)/EFS-050(P) maybe used for this purpose.)



Date: 3/24/2023

 declare under penalty of perjury under the laws of the State of California that the foregoing i                         e and correct.

Yaxian Fan                                                                           '
                     (TYPE OR PRINT NAME OF DECLARANT)                                                          (SIGNATURE OF DECLARANT)


                                                                                                                                                             Pape 1 of 1

Form Approved for Optional Use                             PROOF OF ELECTRONIC SERVICE                                                     Cal. Rules of Court, rule 2251
Judicial Council of California                                                                                                                         www.courts.ca.gov
POS-050/EFS-050[Rev. February 1, zo,~                (Proof of Service/Electronic Filing and Service)

For your protection and privacy, please press the Clear
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